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                                                 July 9, 2025

Honorable Stacey G.C. Jernigan
United States Bankruptcy Court
Northern District of Texas
1100 Commerce Street, Room 1254
Dallas, Texas 75242

       Re:      Request for a Stay; Case No. 19-34054-sgj11

Dear Judge Jernigan:

The Oﬃce of the Texas Attorney General (the “OAG”) respectfully ask that the Court enter a brief
stay of this bankruptcy proceeding.

The OAG, as the representative of the public’s interest in charity, is charged under Texas law with
the power and duty to protect and enforce the public interest in nonproﬁt organizations,
foundations and charitable trusts. See Tex. Prop. Code § 123.002 (authorizing the Attorney General
to intervene in a “proceeding involving a charitable trust.”). Federal courts have recognized this
principle. See, e.g., Tex. v. Veterans Support Org., 166 F. Supp. 3d 816, 820-21 (W.D. Tex. 2015).

The OAG is further charged with protecting the public interest as it relates to unlawful acts or
practices in trade or commerce under the Texas Deceptive Trade Practices-Consumer Protection
Act. Tex. Bus. & Com. Code § 17.41 et seq. (the “DPTA”). The OAG reviews charitable, nonproﬁt,
and for-proﬁt entities to determine whether they are compliant with Texas laws including, inter
alia, the DTPA, the Business Organizations Code, the Property Code, the Texas Health & Safety
Code, and the Uniform Unincorporated Nonproﬁt Association Act. The OAG can also investigate
and enforce breaches of the common law ﬁduciary duties of trustees of charitable trusts and
oﬃcers, directors, and employees of nonproﬁt organizations to protect the public interest.

The OAG has issued Civil Investigative Demands to persons and entities, some of whom are
involved in this bankruptcy proceeding, in response to complaints. See Tex. Bus. & Com. Code §
17.61. One of the complaints under investigation involves conduct allegedly taken by persons or
entities during this bankruptcy proceeding.

A brief stay of the bankruptcy proceedings will assist the OAG in its investigation and permit it
time to determine whether any further action, as it relates to this bankruptcy, is necessary to ensure
protection of the public interest.

Please contact the undersigned if the Court requires additional information.
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                                                 Respectfully submitted,

                                                 /s/ Johnathan Stone
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